
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent’s Answer.
Claimant seeks $1,385.10 for medical services rendered to an inmate at the West Virginia State Penitentiary. Respondent, in its Answer, admits the validity of the claim, but states that there were insufficient funds remaining in its appropriation for the fiscal year in question from which the claim could be paid.
While this is a claim which in equity and good conscience should be paid, the Court is of the opinion that an award cannot be made, based on the decision in Airkem Sales &amp; Service, et al. vs. Dept. of Mental Health, 8 Ct.Cl. 180 (1971).
Claim disallowed.
